Case 5:15-cv-05175-PKH Document 1 Filed 07/28/15 Page 1 of 6 Page|D #: 1

 

W,$ (/, 8
UNITED sTATES DISTRICT CoURT '°)/g g /`ggl/»?¢
wEsTERN DISTRICT oF ARKANSAS 3,, JUL 33 K"'VSA,S
FAYETTEVILLE DIvIsIoN %Sa,% ?0/5
' all
Christina Moss, : clair

Plaintiff, Civil Action No.: l%l"'§ PKH'

: COMPLAINT AND DEMAND FOR
PMAB, LLC; and DOES l-lO, inclusive, : JURY TRIAL

V.

Defendants.

 

 

COMPLAINT
For this Complaint, Plaintiff, Christina Moss, by undersigned counsel, states as follows:
JURISDICTION

l. This action arises out of Defendants’ repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”), and the Telephone Consumer
Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

2. Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § l391(b), in that
Defendants transact business in this District and a substantial portion of the acts giving rise to
this action occurred in this District.

P_M

4. Plaintiff, Christina Moss (“Plaintiff”), is an adult individual residing in
Fayetteville, Arkansas, and is a “person” as defined by 47 U.S.C. § 153(39).
5. Defendant PMAB, LLC (“PMAB”), is a North Carolina business entity with an

address of Two Lake Point Plaza, 4135 South Stream Boulevard, Suite 400, Charlotte, North

 

 

Case 5:15-cv-05175-PKH Document 1 Filed 07/28/15 Page 2 of 6 Page|D #: 2

Carolina 28217, operating as a collection agency, and is a “debt collector” as the term is defined
by 15 U.S.C. § l692a(6), A.C.A. § 17-24-502(5)(A), and is a “person” as defined by 47 U.S.C. §
153(39).

6. Does l-lO (the “Collectors”) are individual collectors employed by PMAB and
whose identities are currently unknown to Plaintiff. One or more of the Collectors may be joined
as parties once their identities are disclosed through discovery.

7. PMAB at all times acted by and through one or more of the Collectors.

ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt

8. A person other than Plaintiff allegedly incurred a financial obligation (the “Debt”)
to an original creditor (the “Creditor”).

9. The Debt arose from services provided by the Creditor which were primarily for
family, personal or household purposes, which meets the definition of a “debt” under 15 U.S.C. §
l692a(5) and A.C.A. § 17-24-502(4).

10. The Debt was purchased, assigned or transferred to PMAB for collection, or
PMAB was employed by the Creditor to collect the Debt.

l 1. Defendants attempted to collect the Debt and, as such, engaged in
“communications” as defined in 15 U.S.C. § l692a(2) and A.C.A. § 17-24-502(1).

B. PMAB Engages in Harassment and Abusive Tactics

12. In or around September 2014, PMAB began calling Plaintiff’ s cellular telephone
in an attempt to collect the Debt from the Debtor.

13. Plaintiff informed PMAB that she did not know the Debtor and that it was calling

the wrong number. Plaintiff then requested that PMAB cease all calls to her regarding the Debt.

 

Case 5:15-cv-05175-PKH Document 1 Filed 07/28/15 Page 3 of 6 Page|D #: 3

14. ThereaRer, Plaintiff stopped answering the calls from PMAB. When Plaintiff
stopped answering the calls, PMAB began leaving prerecorded messages on Plaintiff s cellular
telephone using an automatic telephone dialing system (“ATDS” or “predictive dialer”).

15. Plaintiff never provided her cellular telephone number to PMAB or the Creditor
and never gave either party express consent to place automated calls to her cellular telephone.

C. mgi_lltiff S\_lffere¢_i Act\_lal Dam£gg

16. Plaintiff has suffered and continues to suffer actual damages as a result of
Defendants’ unlawful conduct.

17. As a direct consequence of Defendants’ acts, practices and conduct, Plaintiff
suffered and continues to suffer from humiliation, anger, anxiety, emotional distress, fear,
frustration and embarrassment

QI.J_M
vIoLATIoNs oF THE FAIR DEBT CoLLECTIoN PRACTICES ACT -

15 U.S.C. § 1692, et seg.

18. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

 

as though fully stated herein.

19. Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged in
behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in
connection with collection of the Debt.

20. Defendants’ conduct violated 15 U.S.C. § l692d(5) in that Defendants caused a
phone to ring repeatedly and engaged Plaintiff in telephone conversations with the intent to
annoy and harass Plaintiff.

21. Defendants’ conduct violated 15 U.S.C. § l692f in that Defendants used unfair

and unconscionable means to collect the Debt.

 

Case 5:15-cv-05175-PKH Document 1 Filed 07/28/15 Page 4 of 6 Page|D #: 4

22. The foregoing acts and omissions of Defendants constitute numerous and multiple
violations of the FDCPA.
23. Plaintiff is entitled to damages as a result of Defendants’ violations.

QQLTLI
vloLATIoNs oF THE ARKANSAS FAIR DEBT CoLLECTloN PRACTICES ACT -

A.C.A. § 17-24-501, et seg.

24. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
as though fully stated herein.

25. Defendants’ conduct violated A.C.A. § 17-24-503(1) in that Defendants contacted
Plaintiff for purposes other than to confirm or correct location information.

26. Defendants’ conduct violated A.C.A. § 17-24-503(3) in that Defendants contacted
Plaintiff in regards to the Debtor’s debt on numerous occasions, without being asked to do so.

27. Defendants’ conduct violated A.C.A. § l7-24-505(a) in that Defendants engaged
in behavior the natural consequence of which was to harass, oppress, or abuse Plaintiff in
connection with the collection of a debt.

28. Defendants’ conduct violated A.C.A. § l7-24-507(a) in that Defendants used
unfair and unconscionable means to collect a debt.

29. The foregoing acts and omissions of Defendants constitute numerous and multiple
violations of the AFDCPA, including every one of the above-cited provisions.

30. Plaintiff is entitled to damages as a result of Defendants’ violations.

§_Q_UM_LIL
vIoLATIoNs oF THE TELEPHONE CoNsUMER PROTECTION ACT -

47 U.S.C. § 227, et seg.

31. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

 

Case 5:15-cv-05175-PKH Document 1 Filed 07/28/15 Page 5 of 6 Page|D #: 5

32. Plaintiff never provided her cellular telephone number to Defendants or the
Creditor and never provided her consent to be contacted on her cellular telephone.

33. Without prior express consent, Defendants called Plaintiff’s cellular telephone
using an ATDS and/or using an artificial or prerecorded voice.

34. Defendants continued to place automated calls to Plaintiff’s cellular telephone
aRer being advised they had the wrong number and knowing there was no consent to continue
the calls. As such, each call placed to Plaintiff was made in knowing and/or willful violation of
the TCPA, and subject to treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

35. The calls from Defendants to Plaintiff were not placed for “emergency purposes”
as defined by 47 U.S.C. § 227(b)(1)(A)(i).

36. Upon information and belief, Defendants’ telephone system has the capacity to
store numbers in a random and sequential manner.

37. Plaintiff is entitled to an award of $500.00 in statutory damages for each call
made in negligent violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

38. As a result of each call made in knowing and/or willful violation of the TCPA,
Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47
U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) and A.C.A. § 17-24-
512(3)(1);

2. Statutory damages of $l ,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A) and

A.C.A. § 17-24-512(a)(2)(A);

 

 

Case 5:15-cv-05175-PKH Document 1

Filed 07/28/15 Page 6 of 6 Page|D #: 6

3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

1692k(a)(3) and A.c.A. § 17-24-512(3);

4. Actual damages pursuant to A.C.A. 4-88-113(f);

5. Costs of litigation and reasonable attorney’s fees pursuant to A.C.A. 4-88-

113(f);

6. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

7. Punitive darnages; and

8. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: July 21, 2015

Respectfully bmitted,/

 

   

LE BERG LAW, L.L.C.

1 00 summer srreer, 3“i Fleer
Stamford, CT 06905
Telephone: (203) 653-2250
Facsimile: (203) 653-3424
Attomeys for Plaintiff

